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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

PENN TREATY AMERICAN                           :
CORPORATION,                                   :
                                               :
               Plaintiff,                      :
                                               : CIVIL ACTION
       v.                                      :
                                               : NO. 5:21-cv-01665-JLS
AMERICAN INDEPENDENT                           :
NETWORK INSURANCE COMPANY                      :
OF NEW YORK,                                   :
                                               :
               Defendant.                      :
                                               :
                                               :

                                  NOTICE OF DISMISSAL

       Plaintiff hereby voluntarily dismisses this action with prejudice pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.



Dated: December 28, 2022                          /s/ Douglas Y. Christian
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